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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


   UNITED STATES OF AMERICA,                        )
                                                    )
                               Plaintiff,           )
                                                    )
                       v.                           )       No. 1:02-cr-00169-JMS-DKL
                                                    )
   ROBERT J. GARZA (17),                            )
                                                    )
                               Defendant.           )

                  ORDER ADOPTING REPORT AND RECOMMENDATION

        Having reviewed Magistrate Judge Mark Dinsmore’s Report and Recommendation [dkt.

 122] that Robert J. Garza’s supervised release be revoked, pursuant to Title 18 U.S.C. '3401(i),

 Rule 32.1(a)(1) Federal Rules of Criminal Procedure and Title 18 U.S.C. '3583, the Court now

 approves and adopts the Report and Recommendation as the entry of the Court, and orders that the

 defendant's supervised release is therefore REVOKED, and Robert J. Garza is sentenced to the

 custody of the Attorney General or his designee for a period of 1 day with no supervised release

 to follow.

        So ORDERED.

 Date: April 1, 2016                                    _______________________________

                                                          Hon. Jane Magnus-Stinson, Judge
                                                                  _______________________________

                                                                    Hon. Jane Magnus-Stinson, Judge
                                                                    United States District Court
                                                                    Southern District of Indiana




                                                          United States District Court
                                                          Southern District of Indiana


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